

People v Burgess (2022 NY Slip Op 05809)





People v Burgess


2022 NY Slip Op 05809


Decided on October 18, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 18, 2022

Before: Acosta, P.J., Renwick, Webber, Singh, Moulton, JJ. 


Ind. No. 717/18 Appeal No. 16480 Case No. 2018-5739 

[*1]The People of the State of New York, Respondent,
vAnthony Burgess, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (IvÁn B. Pantoja of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Molly Morgan of counsel), for respondent.



Judgment, Supreme Court, New York County (Abraham L. Clott, J.), rendered September 13, 2018, convicting defendant, upon his plea of guilty, of criminal sale of a controlled substance in the third degree and criminally using drug paraphernalia in the second degree, and sentencing him to an aggregate term of time served and five years' probation, unanimously modified, as a matter of discretion in the interest of justice, to
the extent of reducing the period of probation to four years, and otherwise affirmed.
We find the sentence excessive to the extent indicated. THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 18, 2022








